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                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 NUVASIVE, INC.,

                     Plaintiff,

 v.                                                     Case No: 6:17-cv-2206-Orl-41GJK

 ABSOLUTE MEDICAL, LLC; GREG
 SOUFLERIS; DAVE HAWLEY;
 ABSOLUTE MEDICAL SYSTEMS,
 LLC; and RYAN MILLER;

                     Defendants.



                                         ORDER
       This cause came on for consideration without oral argument on the following motion:

       MOTION:       MOTION AND MEMORANDUM OF LAW TO COMPEL
                     RESPONSES TO SUBPOENA DUCES TECUM SERVED
                     UPON ABSOLUTE MEDICAL SYSTEMS, LLC (Doc. No.
                     57)

       FILED:        May 10, 2018



       THEREON it is ORDERED that the motion is GRANTED in part and
       DENIED in part.



       MOTION:       DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S
                     SUBPOENAS TO PRODUCE DOCUMENTS TO OSSEUS
                     FUSION SYSTEMS, LLC, K2M, INC., NOVABONE
                     PRODUCTS, LLC, ORTHOFIX, INC., AND LIFE SPINE,
                     INC. (Doc. No. 92)

       FILED:        July 23, 2018
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        THEREON it is ORDERED that the motion is GRANTED.



        MOTION:         DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S
                        SUBPOENA TO PRODUCE DOCUMENTS TO CENTRAL
                        FLORIDA REGIONAL HOSPITAL (Doc. No. 102)

        FILED:          August 10, 2018



        THEREON it is ORDERED that the motion is DENIED.

 I.     BACKGROUND.

        On June 8, 2018, NuVasive, Inc., filed the “First Amended Complaint for Injunctive Relief

 and Damages” (the “Amended Complaint”) against Absolute Medical, LLC (“Absolute Medical”);

 Absolute Medical Systems, LLC (“AMS”); Greg Soufleris; Dave Hawley; and Ryan Miller

 (collectively, “Defendants”). Doc. No. 68. NuVasive alleges that it entered into exclusive sales

 agreements with Absolute Medical for Absolute Medical to sell NuVasive’s products. Id. at ¶¶ 8,

 32. It claims that Absolute Medical breached the agreements by doing the following:

                a. attempting to terminate the contract between it and NuVasive
                without cause;
                b. failing to maintain sufficient personnel to service its sales
                territory;
                c. failing to inform NuVasive that it is distributing competitive
                products;
                d. failing to comply with its reasonable non-compete and non-solicit
                obligations; and
                e. failing to ensure that its former sales representatives comply with
                their reasonable non-compete and non-solicit obligations.

 Id. at ¶ 2. NuVasive alleges that AMS is the successor in interest to Absolute Medical, which was

 dissolved in February 2018. Id. at ¶¶ 11, 16-24. Both Absolute Medical and AMS are limited

 liability companies with Soufleris as their single member, president, and registered agent. Id. at ¶¶


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 7, 13, 16. Defendants Hawley and Miller were sales representatives for Absolute Medical. Id. at

 ¶¶ 19, 21. Although NuVasive alleges that Hawley and Miller began working as sales

 representatives for AMS, id. at ¶¶ 19, 21, during the evidentiary hearing on the motion for a

 preliminary injunction, both Hawley and Miller testified that they never worked for AMS. Doc.

 No. 101-2 at 82, 102-03. NuVasive alleges, “Soufleris, Hawley, and Miller now sell products on

 AMS’ behalf that compete with NuVasive’s products to the same customers they sold NuVasive’s

 products on Absolute Medical’s behalf.” Doc. No. 68 at ¶ 23. NuVasive also alleges that Hawley

 and Miller are contractually bound “not to solicit or service the customers they solicited or serviced

 on Absolute Medical’s behalf.” Id. at ¶ 56. Hawley and Miller stated at the evidentiary hearing

 that there is no contract restricting them from selling to former NuVasive customers in 2017 to the

 present. Doc. No. 101-2 at 78, 99. NuVasive seeks injunctive relief and damages. 1 Doc. No. 68 at

 23-24.

          On May 10, 2018, before the complaint was amended to add AMS as a party, Plaintiff filed

 a “Motion and Memorandum of Law to Compel Responses to Subpoena Duces Tecum Served

 Upon [AMS]” (the “Motion to Compel”). Doc. No. 57. On May 25, 2018, before it became a party

 to these proceedings, AMS filed a response to the Motion to Compel. Doc. No. 62. On June 14,

 2018, with the Court’s permission, NuVasive filed a reply to the response. Doc. No. 72.

          On July 23, 2018, “Defendants’ Motion to Quash Plaintiff’s Subpoenas to Produce

 Documents to Osseus Fusion Systems, LLC, K2M, Inc., NovaBone Products, LLC, Orthofix, Inc.,

 and Life Spine, Inc.” (the “First Motion to Quash”) was filed. Doc. No. 92. On August 2, 2018,

 the Court denied the First Motion to Quash as to K2M, Inc., Orthofix, Inc., and Life Spine, Inc.,




 1
   On February 15, 2018, Absolute Medical filed a counterclaim against NuVasive asserting that NuVasive failed to
 pay it commissions owed from October 31, 2017, through December 4, 2017. Doc. No. 26 at 20-21.

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 as the subpoenas required production in Nashville, Tennessee, and thus the First Motion to Quash

 regarding those subpoenas should have been filed in a court with jurisdiction over Nashville,

 Tennessee. Doc. No. 98 at 2. Enforcement of the subpoenas directed to Osseus Fusion Systems,

 LLC (“Osseus”), and NovaBone Products, LLC (“NovaBone”), which required production in

 Tampa, Florida, was stayed pending resolution of the issues in the First Motion to Quash. Id. at 3.

 On August 6, 2018, NuVasive filed its response to the First Motion to Quash. Doc. No. 101.

          On August 10, 2018, Defendants filed a “Motion to Quash Plaintiff’s Subpoena to Produce

 Documents to Central Florida Regional Hospital” (the “Second Motion to Quash”). Doc. No. 102.

 On August 24, 2018, NuVasive filed its response to the Second Motion to Quash. Doc. No. 105.

 II.      ANALYSIS.

          In the subpoena that is the subject of the Motion to Compel, Plaintiff requests that AMS

 produce “[a]ll contracts or other agreements” between AMS and various people and entities, 2 “all

 records related to transactions between [AMS] and Absolute Medical, LLC[,] Absolute Medical,

 Inc., or any other entity controlled by Greg Soufleris or Lindsey Soufleris[,]” and “[a]ll

 communications between” AMS and various people and entities. Doc. No. 57-4 at 5-11. Plaintiff

 also requests the following from AMS: all contracts assigned to it, all charge sheets it submitted

 to Alphatec, 3 records of all payments AMS received from Alphatec, all commission statements

 AMS provided its sales representatives, and all documents related to AMS’s initial funding or

 capitalization. Id. at 8, 12-13.

          The subpoenas at issue in the First Motion to Quash request that Osseus and NovaBone

 produce various documents, including “[a]ll communications[;]” “[a]ll contracts, memorandums



 2
   One of those entities is not named but referred to only as “any other participant in the medical device industry[.]”
 Doc. No. 57-4 at 8.
 3
   Alphatec is NuVasive’s competitor. See Doc. No. 68 at ¶ 64.

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 of understanding, or other agreements of any kind[;]” “[a]ll records of sales made[;]” and “[a]ll

 records of commissions paid to” particular people and entities. Doc. No. 92 at 19-22, 43-46.

            The subpoena directed to Central Florida Regional Hospital asks for every “Surgery

 Requisition Form” submitted by or on behalf of the following in 2017 and 2018: Soufleris, Hawley,

 Miller, Brandon Gottstein, 4 Absolute Medical, AMS, Absolute Ortho, Inc., Absolute Medical,

 Inc., and The Absolute Group. Doc. No. 102 at 18. It also requests all emails exchanged with

 various email addresses associated with Soufleris, Hawley, Miller, Gottstein, and the email address

 dedelson@absolute-medical.org. Id.

            Defendants raise the same objections in the response to the Motion to Compel, the First

 Motion to Quash, and the Second Motion to Quash. Doc. Nos. 62, 92, 102. Thus, the Court

 addresses the objections in turn.

            A.      Disclosure of Trade Secrets or Confidential and Proprietary Information

            Defendants argue that all the subpoenas request documents that “contain trade secrets or

 otherwise confidential and proprietary information, such as sensitive pricing and products[,]” Doc.

 No. 102 at 3, and “highly sensitive, confidential business information between Defendants and

 Non-Parties,” Doc. No. 92 at 4. Defendants state that they and the subpoenaed entities “are

 competitors in the same industry as NuVasive; thus, producing these documents would cause

 substantial economic harm to Defendants’ competitive position.” Doc. No. 92 at 4; see also Doc.

 No. 62 at 6; Doc. No. 102 at 4. Defendants contend that the documents “are likely to reveal

 Defendants’ confidential methods, techniques, and processes in obtaining and maintaining clients

 and confidential pricing and terms for competitive products, which could be used by NuVasive to

 gain a competitive advantage over Defendants.” Doc. No. 92 at 4; Doc. No. 102 at 4. Defendants



 4
     Gottstein was a sales representative with Absolute Medical. Doc. No. 101-2 at 32.

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 provide only conclusory assertions to support this argument; they fail to provide any affidavits or

 factual support. Thus, this argument is rejected. See Eastwood Enters., LLC v. Farha, No. 8:07-

 CV-1940-T-33EAJ, 2010 WL 11508180, at *3 (M.D. Fla. Apr. 26, 2010) (stating that the moving

 party has the “burden to establish that a subpoena requires the disclosure of privileged or protected

 information” and finding that conclusory assertions that the subpoenas require disclosure of

 privileged or protected information are insufficient to justify quashing or modifying the

 subpoenas).

         B.      Relevancy

         Defendants also argue that the documents sought are irrelevant and not proportional to the

 claims and defenses raised. Doc. No. 62 at 3-6; Doc. No. 92 at 4; Doc. No. 102 at 4-7. In its

 responses to the motions to quash, NuVasive contends that relevancy is not a proper basis to quash

 subpoenas to non-parties. Doc. No. 101 at 5-6; Doc. No. 105 at 6.

         The Court may, on motion or on its own, limit the extent of discovery “if it determines that

 . . . the proposed discovery is outside the scope permitted by [Federal] Rule [of Civil Procedure]

 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C)(iii). As NuVasive states in its response to the First Motion

 to Quash, “Discovery sought from a non-party via a subpoena duces tecum, issued pursuant to

 Federal Rule of Civil Procedure 45, is subject to the same standards as those applicable to the other

 discovery rules.” 5 Doc. No. 101 at 2. Thus, the Court will consider Defendants’ relevancy

 objections.

         Rule 26(b)(1) provides the following:

                 Parties may obtain discovery regarding any nonprivileged matter
                 that is relevant to any party’s claim or defense and proportional to
                 the needs of the case, considering the importance of the issues at


 5
   NuVasive also states in its reply to the response to the Motion to Compel, “The Rule 26 standard applies to
 information sought through a Rule 45 subpoena.” Doc. No. 72 at 2.

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               stake in the action, the amount in controversy, the parties’ relative
               access to relevant information, the parties’ resources, the importance
               of the discovery in resolving the issues, and whether the burden or
               expense of the proposed discovery outweighs its likely benefit.

        Defendants assert that because Hawley and Miller admitted to working for a competing

 company, “their communications, contracts, and sales/commissions records with third parties are

 not relevant to this matter and, in fact, would be harmful to Hawley’s and Miller’s business

 relationships if disclosed.” Doc. No. 92 at 6-7; see also Doc. No. 102 at 6. Defendants contend

 that “NuVasive is improperly seeking post-judgment discovery against Soufleris and AMS by

 requesting their financial records from [the subpoenaed entities] before a judgment has been

 entered.” Doc. No. 92 at 7; see also Doc. No. 62 at 5-6; Doc. No. 102 at 5. Defendants state that

 records of sales and commissions are irrelevant because “NuVasive is only seeking to hold

 Soufleris and AMS liable for damages, if any, attributable to Absolute Medical.” Doc. No. 92 at

 7. Finally, Defendants argue that “NuVasive should be required to wait until this Court rules on

 its Motion for Preliminary Injunction to determine if non-competes exist for Hawley and Miller,

 if the veil should be pierced to Soufleris, and if AMS is . . . considered a successor entity to

 Absolute Medical.” Doc. No. 92 at 7; Doc. No. 102 at 6-7.

        In addition to alleging that Hawley and Miller worked for a competitor, NuVasive also

 asserts a claim for conversion against Hawley and AMS (alleging that Hawley or another AMS

 sales representative converted NuVasive’s custom surgical instruments) and a claim against all

 Defendants under the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). Doc. No.

 68 at ¶¶ 61, 63, 106-08, 121-26. Specifically regarding Hawley, NuVasive alleges that he

 “shipp[ed] custom surgical instruments that NuVasive created and owned to Alphatec so that

 Alphatec could create substantially identical instruments.” Id. at ¶ 125. Thus, Hawley’s and

 Miller’s admissions of working for a competitor do not lead to the conclusion that the documents


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 requested in the subpoenas are irrelevant. Also, Defendants provide no affidavits or facts to support

 the conclusory assertion that disclosure of the documents will harm Hawley’s and Miller’s

 business relationships.

         Although Defendants argue that NuVasive is improperly seeking post-judgment discovery,

 they fail to state how the documents requested in the subpoenas constitute “post-judgment

 discovery against Soufleris and AMS . . . .” Doc No. 92 at 7. Because NuVasive is alleging

 violations of FDUTPA against all Defendants, Defendants’ argument that NuVasive only seeks

 damages from Soufleris and AMS that are attributable to Absolute Medical is unsupported.

 Defendants’ final argument that NuVasive should wait until a ruling on its motion for a preliminary

 injunction is rejected, as Defendants provide no reason why NuVasive should be required to wait

 for the ruling before pursuing discovery.

         In their response to the Motion to Compel and the First Motion to Quash, Defendants argue

 that, if the Court does not quash the subpoenas, then “it should require NuVasive to narrowly tailor

 its requests.” 6 Doc. No. 92 at 8; Doc. No. 62 at 6 (“even if this Court considered some of the

 discovery requests as relevant, they should be narrowly tailored and limited to the allegations in

 the Complaint.”). In the First Motion to Quash, Defendants also argue that NuVasive did not limit

 its requests in time or scope. Doc. No. 92 at 7-8.

         The requests to AMS that are the subject of the Motion to Compel and the requests in the

 subpoenas directed to Osseus and NovaBone lack any limits as to time or subject matter. For

 example, NuVasive requests from Osseus and NovaBone, “[a]ll communications[;]” “[a]ll

 contracts, memorandums of understanding, or other agreements of any kind[;]” “[a]ll records of




 6
  Defendants do not argue that the requests in the subpoena to Central Florida Regional Hospital are overbroad. Doc.
 No. 102.

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 sales made[;]” and “[a]ll records of commissions paid to” particular people and entities. Doc. No.

 92 at 19-22, 43-46. The requests to AMS are equally unlimited. These generalized requests for

 documents, lacking temporal or subject matter limitations, are not narrowly tailored to the issues

 in this case.

         NuVasive argues that the requests to Osseus and NovaBone are narrowly tailored because

 “[t]hey seek communications and documents related to four (4) specific individuals— including

 entities those individuals own and/or control—three (3) of which are named defendants in this

 action.” Id. at 7. NuVasive argues that the objection to scope “should be disregarded because no

 reasonable argument can be made that the Subpoena Targets possess any personal (i.e.,

 unresponsive) documents and/or communications with Defendants.” Id. at 8 n.8. NuVasive

 contends that a time limitation is unnecessary because “Defendants spent their entire careers in the

 spine industry with NuVasive, until ‘resigning’ in November 2017.” Id. at 8.

         Although the requests to Osseus and NovaBone may be limited to four specific individuals

 and the entities they control, and Defendants may have spent their entire careers in the spine

 industry with NuVasive, NuVasive provides no facts upon which to base the assumption that all

 the documents that Osseus and NovaBone possess or have control over regarding these people and

 entities are relevant to this litigation. Because the requests lack subject matter or time limitations,

 the Court sustains Defendants’ objections that they are overbroad. The one exception is Request

 No. 11 to AMS to produce “[a]ll documents related to your initial funding and/or capitalization.”

 Doc. No. 57-4 at 8. The subject matter of Request No. 11 is sufficiently limited. The documents

 requested are also relevant to NuVasive’s claim that AMS is a successor in interest to Absolute

 Medical, as NuVasive alleges that, “as part of the process of dissolving Absolute Medical,




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  Soufleris transferred significant amounts of money from Absolute Medical’s accounts into other

  businesses, including, without limitation, AMS.” Doc. No. 68 at ¶ 15.

  III.   CONCLUSION.

         Defendants’ objections based on irrelevancy and trade secrets/confidential or proprietary

  information being disclosed are overruled. As these are the only objections raised regarding the

  subpoena directed to Central Florida Regional Hospital, the Second Motion to Quash is denied.

  The Court sustains Defendants’ objections to the requests in the subpoenas directed to Osseus and

  NovaBone and the requests in the subpoena directed to AMS as being overbroad, with the

  exception that the overbroad objection to Request No. 11 to AMS is overruled.

         Based on the forgoing, it is ORDERED as follows:

         1. The Motion to Compel (Doc. No. 57) is GRANTED IN PART AND DENIED IN

             PART as follows:

             a. AMS shall produce documents responsive to Plaintiff’s request for all documents

                related to AMS’s initial funding and/or capitalization on or before September 14,

                2018;

             b. In all other respects, the Motion to Compel is DENIED;

         2. The First Motion to Quash (Doc. No. 92) is GRANTED; and

         3. The Second Motion to Quash (Doc. No. 102) is DENIED. The stay of the enforcement

             of the subpoena directed to Central Florida Regional Hospital is lifted.

         DONE and ORDERED in Orlando, Florida, on August 31, 2018.




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  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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